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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

  DAVID WATSON, individually and as
  Executor of the ESTATE OF NANCY
  CLARE GIMENEZ-WATSON,                        Civ. No. 1O-cv-230 (KM)(MAH)

                           Plaintiffs,
                                                          OPINION
  V.


 SUNRISE SENIOR LIVING FACILITY,
 INC. d/b/a BRIGHTON GARDENS OF
 EDISON, BRIGHTON GARDENS OF
 EDISON, SUNRISE SENIOR LIVING,
 INC., JANE DOE NURSES 1-50,
 JANE DOE NURSES TECHNICIANS,
 CNA’S AND PARAMEDICAL
 EMPLOYEES 1-50, ABC
 CORPORATION, ABC
 PARTNERSHIP, and XYZ
 CORPORATION (these names being
 fictitious as their true names are
 unknown),

                           Defendants.

 KEVIN MCNULTY, U.S.D.J.:


       This is a personal injury action brought by David Watson (“Mr. Watso
                                                                           n”)
 individually and on behalf of the estate of his mother, Nancy Gimenez-Wa
                                                                         tson
 (“Mrs. Watson”). Mrs. Watson was a patient-resident at Brighton Gardens
                                                                          of
 Edison (“Brighton Gardens”), a New Jersey assisted living facility. On
                                                                       April 26,
 2008, she died after choking on food that was served to her at Brighton
 Gardens. Mr. Watson alleges that his mother’s death was caused by neglige
                                                                           nce
and mistreatment by Brighton Gardens’ operator, Sunrise Senior Living
 Services, Inc. (“Services”), and its parent company, Sunrise Senior Living
                                                                           , Inc.
(“SSLI”). Now before the Court is the defendants’ motion for summary



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    judgment.’ For the reasons set forth below, the motion is granted
                                                                              in part and
    denied in part.


    I.    BACKGROUND


          Brighton Gardens is an assisted living facility and nursing home
                                                                           in
    Edison, New Jersey. Brighton Gardens is licensed and operated by Servic
                                                                                        es, a
    Delaware corporation. Services is a wholly owned subsidiary of SSLI,
                                                                                 a
    Delaware corporation with its principal place of business in McLea
                                                                              n, Virginia.


          On March 25, 2006, Mrs. Watson, who suffered from Alzheimer’s disease
    and dementia, entered Brighton Gardens as a 2
                                                “resident.” (Defs. L.         R. 56.1
    Statement of Undisputed Material Facts (“Def. Facts”), Dkt, No. 158-1,
                                                                                     ¶J1J18-
    19) All residents of the assisted living facility receive certain “base
                                                                              services,”
    such as “reminders and supervision” with regard to “eating, bathin
                                                                              g, dressing,
    grooming, toileting, ambulating, and orientation.” (Residency Agreem
                                                                                ent, Ex. E,
    Cert. of Tim M. Jabbour (“Jabbour Cert.”), Dkt. No. 158-8, at 5) They
                                                                                 are also
 given three meals per day in the facility’s dining room. (Id. at 6) Mrs.
                                                                                Watson
 was placed in the facility’s “Assisted Living Plus” program, which meant
                                                                                      that
 she “require[dj or prefer[redj more frequent and intensive assistance
                                                                                with
 activities of daily living” than were provided at the basic level of care.
                                                                                 (IcL at 19)
 In May 2006, Mrs. Watson was moved to the “Reminiscence Plus” progra
                                                                                      m
 (Def. Facts ¶21), which provides a greater level of care specifically design
                                                                             ed for
 residents “who have a diagnosis ...ofAlzheimer’s disease or related disorde
                                                                               r
 such as dementia.” (Residency Agreement, at 7)



      “Defendants,” as used in this Opinion, refers collectively to Services and SLLI,
the movants.
2      A “resident” is “any individual receiving extended medical or nursing treatment
or care at a nursing home.” N.J.S.A. 30: 13-2(e); see also N.J.A.C. 8:39-1
                                                                            .2 (defming
“resident” as “a person who resides in [a long-term carel facility and is in need
                                                                                   of 24-
hour continuous nursing supervision).

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 Brighton Gardens’ Medical Assessment Policies


        The policy of Brighton Gardens is to assess any changes
                                                                     in a resident’s
 medical condition to determine whether the level of care given
                                                                    to that resident
 is adequate. Changes are reported to the resident’s attending
                                                                   physician, who
 can order Brighton Gardens to implement an appropriate med
                                                                ical response. In
 addition, Brighton Gardens’ nurses are required to create
                                                            an “Incident Report”
 whenever a resident experiences one or more predefine
                                                        d “incidents,” including
 “[cjhoking which requires emergency actions” and “[i]alls with
                                                                injury.”
 (Incident Reporting, Ex. 22, Deci. of Thomas S. Howard (“How
                                                                ard Decl.”), Dkt.
 No. 167-22, at 3) The nurse who witnessed the incident mus
                                                                t complete the
 Incident Report “as soon as possible... but no later than the
                                                               end of their shift.”
 (Id. at 2) The nurse must also make an entry regarding the incid
                                                                     ent in the
 resident’s Progress Notes—a daily record compiled for each
                                                               resident. (Id.)
 Finally, the resident’s attending physician must be notified
                                                               of the incident
within 12 hours. (Id. at 4)


       Brighton Gardens also has a specific protocol for treating
                                                                  a resid   ent who
suffers choking or a blocked airway. The protocol instructs
                                                                 the staff members
to “Call 911”; “Clear the resident’s airway immediately if
                                                          the resident is not able
to talk or cough by performing the emergency procedur for
                                                        e     choking”;
“document[] the incident in the resident’s Progress Notes”
                                                           ; and “Complete an
incident report.” (Choking or Blocked Airway, Ex. 25, How
                                                            ard Deci., Dkt. No.
167-27, at 2)


Mrs. Watson’s Decline in Health


      The issue in this case is whether Brighton Gardens adeq
                                                              uately
responded to the apparent deterioration in Mrs. Watson’s healt
                                                               h. The parties
agree that when Mrs. Watson first came to Brighton Gard
                                                         ens, she was able to
walk and dine independently. (Def. Facts ¶22). According
                                                         to Mr. Watson,
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  however, Mrs. Watson thereafter experienced significant chan
                                                                 ges in her
  medical condition which the defendants, in violation of their
                                                                own policies and
 the prevailing standard of care, failed to recognize and addr
                                                                   ess.


        Mrs. Watson reportedly sustained falls on six occasions in
                                                                     early 2008.
 Two of those falls, both on April 1, 2008, resulted in injur
                                                             y. Although an
 Incident Report was filed, Brighton Gardens allegedly wait
                                                              ed until April 12,
 2008, to update her medical records. (Second Am. Compl.,
                                                          Dkt.            No. 97-3, ¶36)


        On April 11, 2008—the day before the belated entries were alleged
                                                                                  ly
 made—a nurse found Mrs. Watson choking on her food. (Def.
                                                                     Facts ¶72) The
 nurse initiated the Heimlich maneuver and dislodged the
                                                                 obstruction. (Id. ¶73)
 Mrs. Watson was sent to JFK Medical Center for further obse
                                                                    rvation and
 returned the same day. (Id. ¶f 73, 77) Although it is stand
                                                               ard protocol to
 perform a formal reassessment of a resident’s condition anyt
                                                             ime she requires
 hospitalization, no such assessment was performed on Mrs.
                                                              Watson. (See
 Deposition of Eileen Hesse (“Hesse Dep.”), Ex. 3, Howard Deci.,
                                                                       Dkt. No. 167-5,
 at 4-5) The nurse who witnessed the April 11 choking incid
                                                                  ent stated that she
 completed an Incident Report, but the defendants have been
                                                            unab           le to locate
 or produce it. (See Hesse Dep., Ex. 2, Howard Deci., Dkt.
                                                             No. 167-4, at 4-5)


        Mrs. Watson’s attending physician, Dr. Arvind Doshi, was
                                                                          informed
about the choking incident by telephone the following mornin
                                                             g.        (Id. at ¶79) Dr.
Doshi testified at his deposition that he saw no need to examin
                                                                e Mrs. Watson
because no one from Brighton Gardens recommended that he
                                                                do so.
(Deposition of Arvind K. Doshi (“Doshi Dep.”), Ex. E., Jabb
                                                            our Cert., Dkt. No.
 158-9, at 81). If there were “any [] major issue” regarding Mrs.
                                                                     Watson’s health,
Dr. Doshi said, a “nurse would tell me... that you need to come
                                                                     and see her.”
(Id.)




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        A few days later, on April 14, 2008, Mrs. Watson was repo
                                                                   rtedly observed
 “leaning to one side and looking tired.” (Expert Report
                                                         of Gail King, R.N., Ex.
 27, Howard Deci., Dkt. No. 167-29, at 11) Mr. Watson asser
                                                              ts that there is no
 evidence that nursing staff subsequently reassessed Mrs.
                                                            Watson’s condition or
 notified Dr. Doshi.


        Mrs. Watson fell twice more, once on April 16 and and
                                                                  once on April 17,
 2008. An Incident Report was filed after the second fall,
                                                             but Dr. Doshi was not
 notified.


       On April 27, 2008, Mrs. Watson suffered a second chok
                                                                  ing episode. (Def.
 Facts ¶86) It occurred at dinnertime in the Brighton Gard
                                                           ens    dining room. The
 parties dispute whether any of Brighton Gardens’ staff mem
                                                                bers performed the
 Heimlich maneuver. (P1. Response to Defs. Statement
                                                          of Material Facts and P1.
 Supp. Statement of Disputed Material Facts Pursuant to
                                                        L. Civ.      R. 56.1 (“P1.
 Facts”), Dkt. No. 167-32, ¶89) The defendants contend
                                                           that the staff “noticed
 Mrs. Watson standing, realized she was choking, called
                                                             911, and administered
 the Heimlich maneuver.” (Def. Facts ¶89) Mr. Watson,
                                                          however, points to the
 report of the paramedics who responded to the 911 call,
                                                             which states that there
was “[n]o Heimlich maneuver nor CPR started prior
                                                     to E-FD’s arrival.” (P1.
Facts, ¶89)


     By the time paramedics arrived, Mrs. Watson had stop
                                                          ped breathing. The
paramedics’ report describes what they found: “On exam
                                                       BLS suctioned the
airway but unable to clear the airway. CPR was cont
                                                   inued while ALS crew
suctioned while using laryngoscope. Copious amounts
                                                      of food found.” (Id.)       The
paramedics “extracted a large piece of chicken from Mrs.
                                                         Wats     on’s throat,”
placed her on a ventilator, and transferred her to JFK
                                                          Medical Center. (Id. at
¶95) The parties agree that Mrs. Watson was still alive
                                                          when she left Brighton
Gardens. Once she arrived at the hospital, she was
                                                     attached to a “breathing
apparatus.” (Def. Facts ¶97)

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        Before this incident, Mrs. Watson had given a healthcare
                                                                         proxy to Mr.
 Watson. (P1. Facts, ¶98) Pursuant to that authority, Mr. Wats
                                                                       on decided to
 remove the ventilator. Mrs. Watson died on April 27, 2008
                                                                  .


 The Current Action


        Mr. Watson commenced this action on December 7, 2009
                                                                    , in the
 Superior Court of New Jersey, Middlesex County. The Com
                                                              plaint named as
 defendants Services, SSLI, and five of SSLI’s corporate officer
                                                                 s: Daniel
 Schwartz, James Pope, John Gaul, Lisa Mayr, and Susan
                                                            Timoner. On
 January 14, 2010, the 3
                       defendants removed the case to federal court. (Dkt. No.
 1)


       Mr. Watson twice amended the Complaint. (Dkts. Nos. 69,
                                                                          106) The
 Second Amended Complaint alleges (1) violations of the
                                                         New Jersey Nursing
Home Bill of Rights, N.J.S.A. 30:13-1 et seq., the Federal
                                                           Nursing Home Reform
Amendments of 1987, 42 U.S.C. § 1395i, 1396r, and prov
                                                            isions of the
 N.J.A.C. governing the licensure of assisted living and long
                                                                  -term care facilities,
 N.J.A.C. §8:36-1.1, et seq., 8:39-1.1, etseq.; (2) gross
                                                          neglig
                                                               ence; (3)
negligence; (4) medical malpractice and professional negligence;
                                                                  (5) wrongful
death; and (6) that the corporate veil should be pierced
                                                         so that liability extends
to Services’ parent, 4
                     SSLI. (Dkt. No. 97-3, at 21)


       Defendants Services and SSLI moved for summary judg
                                                                      ment on June 13,
2014. (Dkt. No. 158)


      All named defendants joined in the removal notice. (See Dkt.
                                                                      No. 1)
       Mr. Watson sought to include a seventh count alleging liabilit
                                                                      y under a
participation theory and under N.J.A.C. 8:36-5.2(c). In an Order
                                                                  dated January 8,
2013, however, Magistrate Judge Hammer denied Mr. Watso
                                                              n’s motion amend to the
Complaint to the extent it sought to add this claim. (Dkt.
                                                           No. 106, at 33)

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  II.    JURISDICTION


         This Court has subject matter jurisdiction over
                                                           this case pursuant to 28
 U.S.C. § 1332(a), as there is complete diversity of
                                                       citizenship between the
 parties and the amount in controversy exceeds
                                                    $75,000.


 III.    SUMMARY JUDGMENT STANDARD


         Federal Rule of Civil Procedure 56(a) provides that
                                                               summary judgment
 should be granted “if the movant shows that there
                                                       is no genuine dispute as to
 any material fact and the movant is entitled to judg
                                                        ment as a matter of law.”
 FED. R. Civ. P. 56(a); see also Anderson v. Libe
                                                 rty Lobby, Inc., 477 U.S. 242, 248
 (1986); Kreschollek v. S. Steuedoring Co., 223 F.3d
                                                       202, 204 (3d Cir. 2000). In
deciding a motion for summary judgment, a cour
                                                     t must construe all facts and
inferences in the light most favorable to the nonmovin
                                                           g party. See Boyle v.
 County of Allegheny Pennsylvania, 139 F.3d 386,
                                                      393 (3d Cir. 1998). The
moving party bears the burden of establishing that
                                                        no genuine issue of
material fact remains. See Celotex Corp. v. Catr
                                                  ett, 477 U.S. 317, 322—23,
(1986). “[Wjith respect to an issue on which the nonm
                                                          oving party bears the
burden of proof     the burden on the moving party may be discharge
                  ...

                                                                         d by
‘showing’—that is, pointing out to the district cour
                                                      t—that there is an absence
of evidence to support the nonmoving party’s case
                                                     .” Id. at 325.


        If the moving party meets its threshold burden, the
                                                               opposing party must
present actual evidence that creates a genuine issue
                                                        as to a material fact for
trial. Anderson, 477 U.S. at 248; see also FED.
                                                  R. Civ. P. 56(c) (setting forth
types of evidence on which nonmoving party must
                                                     rely to support its assertion
that genuine issues of material fact exist). “[Ujnsup
                                                      ported allegations    and
                                                                           ...


pleadings are insufficient to repel summary judg
                                                  ment.” Schoch v. First Fid.


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     Bancorporation, 912 F.2d 654, 657 (3d Cir. 1990); see
                                                               also Gleason v. Norwest
     Mortg., Inc., 243 F.3d 130, 138 (3d Cir. 2001) (“A nonm
                                                               oving party has created
    a genuine issue of material fact if it has provided suffi
                                                              cient evidence to allow a
    jury to find in its favor at trial.”).


    IV.   ANALYSIS


          A. The Negligence Counts


          Mr. Watson asserts three counts of negligence: gross negl
                                                                         igence (Count
    2), negligence (Count 3), and medical practice and profe
                                                                ssional negligence
    (Count 4). Each essentially alleges that Brighton Gard
                                                            ens’ staff violated a duty
    of care owed to Mrs. Watson, and that this violation
                                                         proximately caused her
    injury and death. Services, Mr. Watson claims, is liabl
                                                            e for the negligent
    actions of Brighton Gardens’ staff based on respondea
                                                            t5superior.


          To prove negligence, a plaintiff must establish: (1) that
                                                                      the defendant
    owed the plaintiff a duty of care; (2) that the defendan
                                                             t breached that duty of
    care; and (3) that the defendant’s breach proximately
                                                             caused the plaintiff’s
    injury. Boos v. Nichtberger, 2013 WL 5566694, *4 (N.J.
                                                           Supe     r. Ct. App. Div.
 Oct. 10, 2013) (citing Endre v. Arnold, 300 N.J. Super.
                                                               136, 142 (App. Div.
    1997)). The difference between “gross” and “ordinary
                                                         ” negl   igence is “one of
 degree rather than of quality.” Femicola v. Pheasant
                                                      Run        at Bamegat, 2010 WL
2794074, *2 (N.J. Super. Ct. App. Div. July 2, 2010
                                                    ). “Gross negligence refers
to behavior which constitutes indifference to conseque
                                                        nces.” Griffin v. Bayshore
Medical Center, 2011 WL 2349423, *5 (N.J. Super. Ct.
                                                        App. Div. May 6, 2011)
(citing Banks v. Korman Assocs., 218 N.J. Super. 370,
                                                        373 (App. Div. 1987)).
Unlike simple negligence, gross negligence requires
                                                    wanton or reckless


5     The potential extension of liability to Services’ parent com
                                                                   pany, SSLI, is
discussed in section IV.D, infra.

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  disregard for the safety of others. Griffin v. Bayshore
                                                          Medical Center, 2011 WL
  2349423, *5 (N.J. Super. Ct. App. Div. May 6, 2011
                                                        ) (citing In re Kerlin, 151
  N.J. Super. 179, 185 (App. Div.1977)).


        Medical malpractice is a kind of negligence. A med
                                                               ical malpractice action
 is based on the “improper performance of a profe
                                                      ssional service that deviated
 from the acceptable standard of care.” Zuidema v. Pedi
                                                             cano, 373 N.J. Super.
 135, 145 (App. Div. 2004); see generally Sanzari v. Rose
                                                              nfeld, 34 N.J. 128, 134-
 35 (1961); F.G. v. MacDonell, 291 N.J. Super. 262, 271-
                                                              72 (App. Div. 1996),
 aff’d in part, rev’d in part on different grounds, 150
                                                          N.J. 550 (1997); 61 Am. Jur.
 2d, Physicians, Surgeons, Etc. § 287 (2002). In a typic
                                                            al medical malpractice
 action, a plaintiff must establish by expert testimon
                                                      y the     applicable standard of
 care owed by a physician to a patient, a deviation
                                                   from that standard of care,
 and that the deviation proximately caused the injur
                                                     ies. Verdicchio v. Ricca, 179
 N.J. 1, 23 (2004).

       The defendants contend that summary judgment
                                                              must be granted on
 each of the three negligence claims because the reco
                                                         rd evidence conclusively
 establishes that Brighton Gardens and its nurs
                                                  ing staff conformed to the duty
 care. (Def. Mot. for Summ. J. (“Def. Mot.”), Dkt. No.
                                                        1582, at 12) The
 defendants state that as a matter of law, “[a]n assis
                                                       ted living provider is not
held to the same professional standard of care as
                                                     a medical doctor, and in fact,
is required to obtain, defer to, and follow medical direc
                                                           tives from each
resident’s treating physician before rendering med
                                                     ical treatment.” (Def. Mot. at
 12) The defendants add that Dr. Doshi’s depositio
                                                    n testimony proves that he
never ordered anyone at Brighton Gardens to mod
                                                    ify Mrs. Watson’s treatment.
Absent such a doctor’s order, they say, they cannot
                                                        have violated any duty by
failing to modify Mrs. Watson’s care in a manner that
                                                          would have prevented
either the first or the second choking incident. As
                                                    additional support, the
defendants cite the deposition testimony of Mr. Wats
                                                        on and his medical expert,
Dr. Perry Starer.


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        The defendants present no evidence regarding the othe
                                                                     r elements of Mr.
  Watson’s negligence claims. Accordingly, the decision
                                                             to award summary
  judgment on these claims turns solely on whether Mr.
                                                             Watson is able to raise a
  question of material fact concerning the defendants’ profe
                                                                 ssed adherence to the
  applicable standard of care.


        The defendants’ assertion that an assisted living facil
                                                                   ity such as Brighton
  Gardens is not held to the same standard as a phys
                                                        ician does not, in itself, rule
  out negligence. Both assisted living facilities and phys
                                                           icians qualify as
 “licensed persons” under New Jersey law. See N.J.S.A.
                                                             2A:53A-26(1), (j); see
 also N.J.S.A. 26:2H-2(a). Any action alleging malpractice
                                                                 or negligence against
 such licensed persons in their “profession or occupatio
                                                             n” must establish that
 the services rendered “fell outside acceptable profession
                                                              al or occupational
 standards or treatment practices.” N.J.S.A. 2A:53A-27;
                                                        see        also Zuidema, 373
 N.J. Super. at 145. True, those standards and practices
                                                              may differ based on
 the particular profession at issue, but the legal stand
                                                         ard for determining
 liability is the same: failure to conform to the duty of care
                                                                 accepted within the
 profession.


       In that regard, the defendants maintain that the duty
                                                                   of care applicable
 to an assisted living facility requires no more than “follow
                                                              ing the protocol” for
 communicating with a resident’s treating physician and
                                                             faithfully implementing
 whatever that physician may order. According to the defe
                                                              ndants, the nursing
 staff of Brighton Gardens did just that throughout Mrs.
                                                            Watson’s time as a
 resident. In short, the defendants argue that it was the
                                                           doctor’s responsibility,
 not theirs, to evaluate the need for further measures to
                                                            prevent choking.

       Dr. Doshi testified at his deposition that Brighton Gard
                                                               ens’ practice was
to call him or send him a memorandum if there was any
                                                           issue with a patient.
(Doshi Dep. 32:13-19) If he had been informed that Mrs.
                                                           Watson had
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  experienced swallowing problems or any other condition that might
                                                                          indicate
  she was at risk of choking, Dr. Doshi stated, he would have made
                                                                         a notation in
  his records and ordered some form of evaluation, such as a speech
                                                                          therapy or a
  swallowing consultation, to determine whether she required any
                                                                 additio      nal
  treatment. (Doshi Dep. 41:22-25, 42:1) Here, according to the
                                                                defend     ants, Dr.
  Doshi did not conclude that the reports he got from Brighton Garden
                                                                           s merited
  any further evaluation. (Doshi Dep. 44:22-25, 45:1-4, 47:1-6) Theref
                                                                        ore, their
  argument goes, Dr. Doshi could not have been expected to order Bright
                                                                           on
  Gardens to implement any measures to prevent Mrs. Watson from
                                                                      choking.
  And because the Doctor never gave such an order, the defendants
                                                                     insist, they
  could not have violated any duty of care when they failed to preven
                                                                      t either of
  Mrs. Watson’s choking episodes.


        The defendants point to evidence that, after the first choking
                                                                         episode on
 April 11, 2008, they adhered to Brighton Gardens’ medical assessm
                                                                     ent policies.
 The nurse on the scene administered the Heimlich maneuver, remov
                                                                      ed the
 blockage, and asked a colleague to call 911. (See Progress Notes,
                                                                   Ex. G,
 Jabbour Cert., Dkt. No. 158-10, at 7-8) Dr. Doshi was notified
                                                                by phone the
 following day that Mrs. Watson had choked. (Doshi Dep. 63:3-6
                                                                ) Aven after
 learning that Mrs. Watson had been hospitalized, Dr. Doshi believe
                                                                    d it was
 unnecessary to visit and examine her. (Doshi Dep. 81:13-19)
                                                                  He testified that
 choking was a relatively common occurrence—”food will go throug
                                                                 h        the wrong
 pathway sometimes”—and that one instance of choking did
                                                                not establish any
 “issue with swallowing trouble.” (Doshi Dep. 41:2-3, 81:13-19)
                                                                    Dr. Doshi
 testified that it would have been premature to order speech therapy
                                                                          or a
 swallowing consultation—or any other potentially preventative
                                                                    diagnostic—after
 a single episode of choking. (Doshi Dep. 81:23-25, 82:1-6) Passin
                                                                      g the
 responsibility back to the defendants, Dr. Doshi testified that
                                                                   such a move
 would be necessary only if “the caregiver feels that [a resident]
                                                                    has problems
 swallowing and if there is a recurrent episode.” (Doshi Dep.
                                                               81:23-25, 82:1-6)
 At least at this point, the defendants say, neither a swallowing
                                                                    problem nor a
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  recurrent episode was present. Since it was Dr. Doshi’s medical opinion that
  the type of care given to Mrs. Watson was sufficient, the defendants argue that
  they cannot be held liable for failing to prevent Mrs. Watson’s second, fatal
  choking episode.


        As additional support, the defendants point to Mr. Watson’s own
  deposition testimony. Mr. Watson testified that, after the first choking episode,
  he visited Mrs. Watson and considered her to be “fine.” (Deposition of David
  Watson (“Watson Dep.”), Ex D., Jabbour Cert., Dkt. No. 158-7, 97:4, 98:13-
                                                                             16)
  Defendants also cite the testimony of Dr. Starer that a speech therapy
  evaluation was not medically necessary after Mrs. Watson’s first choking
 incident. This medical testimony, they say, further vindicates the actions of Dr.
  Doshi and Brighton Gardens. (Deposition of Dr. Perry Starer, Ex. H, Jabbour
 Cert., Dkt. No. 158-11, at 98)


       When the second choking episode occurred on April 27, 2008, the
 defendants say, Brighton Gardens’ staff again adhered to the medical
 assessment policies. A nurse administered the Heimlich maneuver (though this
 is disputed) and called 911. (Deposition of Merleine Fredrick, Ex. I, Jabbour
 Cert., Dkt. No. 158-12, 21:20-25, 22:1-25) Mrs. Watson was transported to
 JFK Medical Center for further treatment, and Mr. Watson was immediately
 notified by telephone of what had happened. (Watson Dep., 132:9-11, 134:16
                                                                                  -
 25)


       In sum, the defendants argue that Brighton Gardens followed its internal
 protocols and the instructions of Dr. Doshi. That, they say, is sufficient to
 discharge the duty of care imposed on an assisted living facility when caring for
 a resident. After reviewing the record, however, I find that Mr. Watson has
 successfully raised a factual dispute regarding whether or not the defendants
 met this burden.


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        There is a certain circular quality to the defendants’ argument. To take
  an extreme and hypothetical example, if a care facility completely failed
                                                                                to
  report an injury to the doctor, it could not disclaim liability becaus
                                                                        e the doctor
  had failed to prescribe any treatment. Here, the defendants exculpate
  themselves by pointing to advice (or lack of advice) from Dr. Doshi.
                                                                       But Dr.
  Doshi’s advice relied on the defendants’ accurately reporting the
                                                                      medically
  relevant facts to him.


        The defendants’ argument that Brighton Gardens was powerless to alter
  Mrs. Watson’s treatment between the first and second choking episod
                                                                             es begs
 that informational question. As Dr. Doshi testified, he was “relying on
                                                                              the
 nurses to provide [him] with the information [he] need[ed] in order to
                                                                             place
 physician’s orders for [Mrs. Watson].” (Doshi Dep., 60:15-19) If, as
                                                                           Mr. Watson
 submits, the defendants negligently failed to provide that information
                                                                        after        the
 April 11, 2008 episode, then Dr. Doshi would have been ill equipp
                                                                       ed to give
 appropriate orders regarding her care.


        Has Mr. Watson submitted evidence sufficient to create an issue of fact
 as to the defendants’ accurate and complete reporting of the April 11,
                                                                             2008
 episode to Dr. Doshi? I believe he has.


       Brighton Gardens’ policy was to evaluate a resident’s medical condit
                                                                              ion
 any time she was admitted to the hospital and returned to the facility
                                                                        . Eileen
 Hesse, a registered nurse who worked at Brighton Gardens, testified
                                                                       that if a
 resident “went out to the emergency room for an evaluation and then
                                                                         they
 returned, there would be some sort of assessment.” (Hesse Dep.,
                                                                 96:18-20)
 According to Hesse, this evaluation would consist of “a head-to-toe
                                                                        physical
 assessment” focused on the “reason that that the
                                                     [] resident went out to the
 hospital.” (Id. at 97:6-9, 97:22-23, 98:16-18) No such assessment
                                                                      appears to
 have been conducted after Mrs. Watson returned from the hospita
                                                                      l after her
 first choking episode. (Deposition of Kimberly Walling, Ex. 5, Howar
                                                                        d Deci.,
                                           13
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  167-7, at 35:4-18, 36:15-20) Indeed, Dr. Doshi testified that apart from
                                                                                the
  initial phone call he received after Mrs. Watson had been taken to
                                                                          the hospital,
  no one from Brighton Gardens ever followed up with him about her
                                                                           condition.
  (Doshi Dep., 64: 12-25, 65:1-14)


        Mr. Watson contends that this lapse in evaluation and reporting
  prevented Dr. Doshi from effectively supervising his mother’s care.
                                                                      Dr.    Doshi
  testified that if the nursing staff had “let [him] know. there is a proble
                                                         . .                 m with
  any [] swallowing,” then would have ordered a speech therapy evalua
                                                                          tion.
  (Doshi Dep., 48:11-20) But because the nursing staff never evalua
                                                                          ted Mrs.
 Watson after she first choked, Mr. Watson says, there was no way for
                                                                      Dr.        Doshi
 to know whether the choking episode was an isolated incident or eviden
                                                                               ce of a
 growing inability to swallow. As Mr. Watson’s expert registered nurse,
                                                                             Gail
 King, writes her in report: “There were no further progress notes written
                                                                             that
 monitored [Mrs. Watson] after [the first choking] episode nor did the
                                                                        nursing
 staff speak with the physician about utilizing the services of the in-hou
                                                                           se
 speech-language pathologist to assess Mrs. Watson’s swallowing skills
                                                                           which
 can often deteriorate with Alzheimer’s disease.” (Expert Report
                                                                  of Gail King
 (“King Report”), R.N., Dkt. No. 167-29, 11)


       Mr. Watson documents other apparent failures in Brighton Garden
                                                                                s’
 communication with Dr. Doshi. On April 14, 2008, the Daily Log
                                                                   notes that
 Mrs. Watson was “leaning to the side a bit and looking very tired.”
                                                                     (Daily Log
 April 2008, Ex. 21, Howard Deci., Dkt. No. 167-23, at 6) Although
                                                                     the entry
 states that the staff “notif[ied] team members and [the] nurse” (id.),
                                                                          there is no
 evidence that any further action was taken or that Dr. Doshi was
                                                                  notifie     d. Dr.
 Doshi testified that this is exactly the kind of information that he
                                                                        would expect
 the nurses to report to him, because it could be indicative of a “minor
                                                                             stroke”
 or a “medication side effect.” (Doshi Dep., 65:15-24, 66:2-4)




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       Additionally, Mr. Watson points to evidence that Brighton Gardens failed
 to follow its own Incident Report policy. Nurse Hesse testified that she prepared
 an Incident Report following the first choking episode and “left it in the nurse’s
 station.” (Hesse Dep., 28:3-5). Throughout the course of this litigation,
 however, the defendants have been unable to locate this document. (See ¶3,
 Howard Decl.) The Court must construe all facts and inferences in the light
 most favorable to Mr. Watson. See Boyle, 139 F.3d at 393. For purposes of this
 analysis, then, I will assume that no Incident Report was created following Mrs.
 Watson’s first choking episode—a clear violation of Brighton Gardens’ policy.


       Rounding out the picture, both of Mr. Watson’s experts—Nurse King and
 Dr. Starer—have submitted opinions that these oversights violated the duty of
 care and proximately caused Mrs. Watson’s second, fatal choking episode.


       Nurse King testified that after the first choking episode, the nursing staff
 should at least have finely cut Mrs. Watson’s food for her and watched her eat
 to determine whether she continued to experience swallowing issues. That
 would have minimized the risk of choking at least until Dr. Doshi—assuming
 he had been properly informed—could order a speech therapy evaluation.
 (Deposition of Gail King, R.N., Ex. 28, Howard Deci. 67:22-69:23) Such simple
 commonsense precautions did not require medical authorization. Nurse King’s
 report identifies a number of lapses by the Brighton Gardens staff: “Lack of
 communication by the staff at all levels to ensure her basic needs were met”;
 “Lack of reassessment by the staff once physical or behavioral changes were
 observed”; “Lack of timely follow-up intervention to ensure her health & safety”;
 “Lack of timely and/or consistent documentation to ensure staff were aware of
 her needs or changes demanded due to these needs”; and “Lack of timely
 notification to physicians with changes in her condition.” (King Report, Dkt. No
 167-29, at 13-14) The report states that these failures and oversights “caused
 direct harm and injury” to Mrs. Watson and “contributed to her death.” (Id. at
 14)
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        Dr. Starer, the expert physician, agreed with Nurse King’s conclusions.
 He found that Mrs. Watson’s second, fatal choking could have been prevented
 had Brighton Gardens observed a reasonable degree of care:

        As a foreseeable result of the staff of Brighton Gardens of Edison
        not providing care to prevent aspiration, Ms. Watson aspirated on
        April 26, 2007. Ms. Watson’s history of aspiration was known to
        the staff of Brighton Gardens of Edison. Ms. Watson required
        aspiration precautions. She should have been maintained in an
        upright position during and after meals. Food of appropriate size
        and consistency should have been provided.. .There is no evidence
        that Ms. Watson was properly assessed or monitored.



        As a result of the staff of Brighton Gardens of Edison not properly
        providing care to prevent aspiration, Ms. Watson aspirated. As a
        result of choking on food, her airway was obstructed. As a result of
        her airway being obstructed, she suffered cardiac arrest and
        died... Brighton Gardens of Edison failed to ensure that Ms. Watson
        received appropriate routine medical and nursing care[.}



        Brighton Gardens of Edison’s failure to comply with the applicable
        standards of care caused, within a reasonable degree of medical
        certainty, Ms. Watson to aspirate, suffer cardiac arrest and
        die.. .These injuries to Ms. Watson could have, within a reasonable
        degree of medical certainty, been prevented if the standards of care
        had been followed.

  (Starer Report, Ex. 8, Howard Decl., Dkt. No. 167-10, at 6)


        Finally, Mr. Watson notes that Brighton Gardens failed to follow its
  Choking or Blocked Airway policy during Mrs. Watson’s second choking
  incident. That policy instructs the nursing staff to “[cilear the resident’s airway
  immediately if the resident is not able to talk or cough by performing the
  emergency procedure for choking.” (Choking or Blocked Airway, Ex. 25,
  Howard Decl., Dkt. No. 167-27, at 2) Brighton Gardens asserts that staff

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 members “administered the Heimlich maneuver” immediately after realizing
 Mrs. Watson was choking. (Def. Facts ¶89) But the paramedics who responded
 to the 911 call recorded in their report that “No Heimlich maneuver or CPR
 started prior to E-FD’s arrival.” (Patient Care Report, Ex. 7, Howard Deci., Dkt.
 No. 167-9, at 2)


       I do not suggest, of course, that the evidence marshaled by Mr. Watson
 compels judgment in plaintiff’s favor. But it is more than sufficient to raise a
 question of material fact regarding whether the defendants followed the duty of
 care, and therefore, to preclude summary judgment in the defendants’ favor.
 The defendants’ motion for summary judgment is thus denied as to Mr.
 Watson’s claims for gross negligence (Count Two), negligence (Count Three),
 and medical practice and professional negligence (Count Four).


       B. Punitive Damages


       Mr. Watson seeks punitive damages on all three negligence counts. The
 defendants argue that even if the Court does not grant summary judgment on
 those counts in their entirety, it should nonetheless grant partial summary
 judgment to the extent that they seek punitive damages. The defendants claim
 that, as a matter of law, the conduct alleged by Mr. Watson simply does not
 rise to the level of culpability required to impose punitive damages.


       The Punitive Damages Act (“Act”) governs claims involving punitive
 damages. N.J.S.A. § 2A:15-5.9-5.17. Under the Act, a New Jersey court may
 award punitive damages only if:


       [Tjhe plaintiff proves, by clear and convincing evidence, that the
       harm suffered was the result of the defendant’s acts or omissions,
       and such acts or omissions were actuated by actual malice or
       accompanied by a wanton and willful disregard of persons who
       foreseeably might be harmed by those acts or omissions. This

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       burden of proof may not be satisfied by proof of any degree of
       negligence including gross negligence.

 N.J.S.A. § 2A:15-15.2(a). The Act defines “actual malice” as an “intentional
 wrongdoing in the sense of an evil-minded act” and “wanton and willful
 disregard” as a “deliberate act or omission with knowledge of a high degree of
 probability of harm to another and reckless indifference to the consequences of
 such act or omission.” N.J.S.A. § 2A:15-15.10.


       A court should therefore award punitive damages “only where the
 evidence shows that the defendant knows or has reason to know of facts that
 create a high risk of physical harm to another and deliberately proceeds to act
 in conscious disregard or, or indifference to, that risk.” Sipler v. Trans Am
 Trucking, Inc., 2010 WL 492393, at *3 (D.N.J. Nov. 30, 2010) (citing Burke v.
 Massen, 904 F.2d 178, 181 (3d Cir. 1990)). It is “not enough to show that a
 reasonable person in the defendant’s position would have realized or
 appreciated the high degree of risk from his actions.” Id. Rather, “there must be
 some evidence that the defendant actually realized the risk and acted in
 conscious disregard or difference to it.” Id. (emphasis added)


       Mr. Watson alleges that the defendants intentionally decided to
 understaff Brighton Gardens, and that this decision “created an environment
 in which the staff were too busy to pay attention to the residents” or “to
 monitor their condition and their needs.” (Plaintiff’s Brief in Opposition to Def.
 Sum. J. Mot. and in Supp. of P1. Cross-Motion for Leave to Am. the Compi. (“P1.
 Br.”), Dkt. No. 167, at 31) His principal evidence in support of this contention
 is that the defendants failed to replace Jonelle West, the Coordinator of the
 Reminiscence Unit—the part of the facility specially designed for residents
 suffering from Alzheimer’s where Mrs. Watson had resided since May 2006—
 after she filed for disability in April 2008 and took a leave of absence. (See P1.
 Facts, ¶163) Mr. Watson states that instead of hiring someone to fill this


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 supervisory position, the defendants “requir[edj instead that others cover for
 her absence and effectively le[ft] no one in charge.” (P1. Br., at 31) He charges
 that had West been replaced, a supervisor would have been present during
 Mrs. Watson’s second choking episode. The decision to not replace West, Mr.
 Watson says, is part of the defendants’ deliberate decision to keep Brighton
 Gardens understaffed. Further, he maintains that all of the alleged derogations
 from the standard of care discussed in Section IV.B., supra, derived from
 understaffing.


       I find that this issue is not suitable for resolution on summary judgment
 based on this record. Certainly punitive damages are not prohibited as a
 matter of law. Striking down an exculpatory contractual clause that precluded
 punitive damages, the Appellate Division has stated that “[t]he preclusion of
 punitive damages touches upon the societal interest of expressing the
 community’s disapproval of outrageous conduct. In the context of nursing
 home abuse, punitive damages also serve an ‘admonitory’ function.” Estate of
 Ruszala v. Brookdale Living, 415 N.J. Super. 272, 298 (App. Div. 2010). The
 issue is a fact-sensitive one that may depend on the evaluation of witness
 testimony. While defendants have ample grounds for their opposition to
 punitive damages, I cannot rule them out under every plausible scenario that
 may occur at trial.


       I therefore deny the motion for summary judgment as to punitive
 damages. I do so, however, without prejudice to the renewal of these arguments
 at the close of plaintiff’s case or at the close of all the evidence. I further note
 that, in diversity cases, the Court generally adheres to the state-court
 procedure of bifurcating the trial, presenting the punitive damages issues to
 the jury only if, and after, the jury has awarded compensatory damages.




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        C. The Statutory Violations


        Count One of the Second Amended Complaint alleges that the
  defendants violated four statutory or regulatory schemes:


        •   The New Jersey Nursing Home Responsibilities & Rights of Residents
            Act, N.J.S.A. § 30:13-1 et seq. (the “NHRRRA”),

        •   The Standards for Licensure of Assisted Living Residences,
            Comprehensive Personal Care Homes, and Assisted Living Programs,
            N.J.A.C. § 8:36- 1.1 et seq. (the “SLALR”)

        •   The Standards for the Licensure of Long-Term Care Facilities,
            N.J.A.C. § 8:39-1.1 et seq. (the “SLLTCF”), and

        •   The Federal Nursing Home Reform Amendments, 42 U.S.C. § 1396r et
            seq. (the “FNHRA”).

       The defendants cite a recent decision of this district court which held
 that the NHRRRA does not apply to assisted living facilities such as Brighton
 Gardens. Andreyko v. Sunrise Sr. Living, Inc., 993 F. Supp. 2d 475, 48 1-86
 (D.N.J. 2014). Adopting Judge Debevoise’s analysis, I will grant summary
 judgment on Count One to the extent it alleges violations of the NHRRRA.


       Of course, disposing of the NHRRRA allegations does not dispose of
 Count One. I therefore consider the other statute and regulations under which
 Mr. Watson seeks relief. I hold that they either do not confer a private right of
 action or do not apply to Mrs. Watson, and therefore I will grant summary
 judgment on Count One in its entirety.


       First, the state regulations. There is no private right of action to enforce
 the provisions of the SLALR and the SLLTCF. Both are promulgated under Title
 8 of the New Jersey Administrative Code. The SLALR, codified at Chapter 36,
 “establish[es] minimum standards with which an assisted living residence,
 comprehensive personal care home or assisted living program must comply in

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 order to be licensed to operate in New Jersey.” N.J.A.C. 8:36-1.2. It provides
 that each resident is entitled to an enumerated list of rights, such as “the right
 to receive a level of and services that addresses the resident’s changing
 physical and psychosocial status,” and “the right to be free from physical harm
 and mental abuse and/or neglect.” N.J.A.C. 8:36-4.1. Although this is styled as
 a list of “rights,” the regulation does not promulgate a liability-creating scheme
 that affords a private right of action against infringers. To the contrary, the
 SLALR explicitly provides only that the New Jersey Department of Health and
 Senior Services (“DHSS”) can enforce the provisions of this chapter. Typically,
 DHSS will do so by denying or revoking a facility’s license, assessing monetary
 penalties, or by removing residents from the facility. N.J.A.C. 8:36-2.8, 2.9, 3.5.


       The SLLTCF is substantially similar in design. Codified at Chapter 39, it
 establishes “rules and standards intended to assure the high quality of care
 delivered in long-term care facilities, commonly known as nursing homes,
 throughout New Jersey.” N.J.A.C. § 8:39-1.1. The rules are “intended for use in
 State surveys of the facilities and any ensuing enforcement actions.” Id. The
 SLLTCF also sets forth a list of rights to which the residents of such facilities
 are entitled. N.J.A.C. § 8:39-4. 1. The only reference to enforcement in this
 chapter states that “violations of this subchapter may result in act by the
 Department [i.e., DHSS] in accordance with N.J.A.C. 8:43E.” N.J.A.C. 8:39-2.7.
 That provision, in turn, provides that only “the Commissioner [of DHSSj or his
 or her designee may impose [1 enforcement remedies against a health care
 facility for violations of licensure regulations or other statutory requirements.”
 N.J.A.C. 8:43E-3. 1. Again, there is no provision for a private right of action,
 and the enforcement provision appears to rule out such a right of action.

       Because neither the SLALR nor the SLLTCF may be enforced through
 private civil litigation, Mr. Watson’s claims for violations of those statutes must
 therefore fail as matter of law.



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        Finally, Count One alleges a violation of a federal statute, the FNHRA.
 FNFIRA was passed by Congress to provide for the oversight and inspection of
 nursing homes that participate in the Medicare and Medicaid Programs. 42
 U.S.C. § 1395i-3(g), 1396r(g). This statute affords nursing home residents
 certain rights so as to establish minimum standards of care. Like the New
 Jersey statutes, the FHNRA does not expressly authorize a private cause of
 action. The Third Circuit, however, has held that a private litigant may seek
 redress through 42 U.S.C. § 1983 for violations of the rights conferred by
 FNHRA. See Grammer v. John J. Kane Regional Centers-Glen Hazel, 570 F.3d
 520, 525 (3d Cir. 2009).


       Nevertheless, FNHRA does not apply here, for several reasons. First, the
 Third Circuit stated that “Medicaid recipients were the intended beneficiaries of
 § 1396r.” Id. at 527. Mr. Watson makes no allegation or showing that his
 mother was a Medicaid recipient. Second, even if Mrs. Watson did receive
 Medicaid, violations of the FNHRA can be enforced only through § 1983. Mr.
 Watson asserts no such claim, nor could he, because Brighton Gardens is a
 private actor. See, e.g., Boykirt v. 1 Prospect Park ALF, LLC, 993 F. Supp. 2d
 264, 283 (E.D.N.Y. 2014) (“Plaintiffs’ section 1983 claims would still require
 proof that the deprivation of their federal rights occurred Lunder color of [State]
 law.’ The defendants here are private parties, not state actors, and it is
 undisputed that at all relevant times the [facility in question] ‘was private pay—
 not Medicaid.”’) (internal citations omitted). Finally, the allegations of the
 complaint and the proofs I have analyzed leave it unclear whether Brighton
 Gardens, an “assisted living facility” under New Jersey law, see Andreyko, 993
 F. Supp. 2d. at 48 1-86, meets the FNHRA’s statutory definition of a “nursing
 home.” For these reasons, I conclude that Mr. Watson’s FNHRA claim fails as a
 matter of law.


       Summary judgment is granted on Count One in its entirety.


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        D. Piercing the Corporate Veil

        Count 6 of the Second Amended Complaint alleges that SSLI should be
 held liable for the alleged tortious conduct of Services, its subsidiary. Services,
  recall, is the licensed operator of Brighton Gardens. Mr. Watson contends that
  SSLI dominated Services to such an extent that it is permissible for the Court
 to pierce the corporate veil. The defendants urge the Court to enter summary
 judgment on this count because, they say, the evidence shows that Services
 did not abuse the corporate form. I disagree. The evidence presented by Mr.
 Watson is sufficient to raise genuine, material factual issues regarding the
 relationship between Services and SSLI.


        Piercing the corporate veil is a “tool of equity.” Carpenters Health &
  Wefare Fund v. Kenneth R. Ambrose, Inc., 727 F.2d 279, 284 (3d Cir. 1983). It
 provides a remedy “when [a subservient] corporation is acting as an alter ego of
 [a dominant corporation.]” Bd. of Trustees of Teamsters Local 863 Pension Fund
 v. Foodtown, Inc., 296 F.3d 164, 171 (3d Cir. 2002) (citations omitted). A
 plaintiff seeking to pierce the corporate veil bears the burden of establishing
 that the corporate form should be disregarded. Richard A. Pulaski Constr. Co. v.
 Air Frame Hangars, Inc., 195 N.J. 457, 472 (2008). Under New Jersey law, the
 plaintiff must show that (1) “the parent so dominated the subsidiary that it had
 no separate existence but was merely a conduit for the parent,” and (2) “the
 parent has abused the privilege of incorporation by using the subsidiary to
 perpetrate a fraud or injustice, or otherwise to circumvent the law.” Pharmacia
 Corp. v. Motor Carrier Services Corp., 309 F. App’x 666, 672 (3d Cir. 2009)
 (quoting State Dep’t of Enu. Prot. v. Ventron Corp., 94 N.J. 473, 468 (1983)).
 Factors relevant to piercing the corporate veil include:

       [Gjross undercapitalization        failure to observe corporate
                                        ...



       formalities, non-payment of dividends, the insolvency of the debtor
       corporation at the time, siphoning of funds of the corporation by
       the dominant stockholder, non-functioning of other officers or
       directors, absence of corporate records, and the fact that the

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          corporation is merely a facade for the operations of the dominant
          stockholder or stockholders.

  Foodtown, Inc., 296 F.3d at 272.


          Whether the veil should be pierced is ordinarily a fact-intensive issue:
 “The issue of piercing the corporate veil is submitted to the factfinder, unless
 there is no evidence sufficient to justi1r disregard of the corporate form.” N. Am.
 Steel Connection, Inc. v. Watson Metal Products Corp., 2010 WL 3724518, at *10
 (D.N.J. Sept. 14, 2010) (citations omitted) aff’d, 515 F. App’x 176 (3d Cir.
 2013).


          Mr. Watson persuasively cites deposition and other testimony that
 suggests that Services functioned as the alter ego of SSLI. Bradley Rush, who
 from 2005 to 2007 simultaneously served as the Chief Financial Officer of SSLI
 and the sole member of Services’ board of directors, testified that Services had
 no employees of its own and held no formal board meetings. (Deposition of
 Bradley Rush (“Rush Dep.”), Ex. 9, Howard Decl., Dkt. No. 167-11, at 13:9-10,
 16:10-12) Rush testified that Services did not keep its financial books and
 records separate from those of SSLI. (Id. at 35:11-13) He further stated that the
 money generated by the assisted living facilities operated by Services was
 routinely “swept into a centralized account at the bank of [SSLI’s Virginia]
 location.” (Id. at 24:21-25, 25:1-2) Although Services formally maintained its
 own bank accounts, it did not retain “any portion” of the revenue generated by
 the assisted living facilities. (Id. at 25:8-10) Instead, Rush said, when Services
 needed to pay its staff or make other expenditures, “funds would be swept back
 down from [SSLI’s] centralized account to cover that.” (Id. at 28:1-7). Typically,
 however, Services’ bank accounts “were always maintained at zero.” Id. at 28:4-
 18) Rush also testified that SSLI determined the staffing levels at the facilities
 operated by Services, like Brighton Gardens. (Id. at 30-3 1) For these reasons,
 Rush maintained that SSLI and Services “acted as the alter ego of each other,”


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 and that SSLI “completely dominated and controlled the activities and finances
 of...Services.” (Id. at 33:12-19)


       Richard Nadeau, who succeeded Rush as the Chief Financial Officer of
 SSLI, gave trial testimony in a separate action against SSLI that corroborates
                   6 Nadeau testified that he was unable to estimate
 Rush’s deposition testimony.
 the worth of Services because he said, referring to SSLI, “we don’t keep the
 books and records of the corporation that way. We keep the records at the
 consolidated level.” (Testimony of Richard Nadeau, Ex. 11, Howard Deci., Dkt.
 No. 167-13, 6:19-26) Nadeau, like Rush, stated that all of the revenue
 generated by Services through its assisted living facilities is deposited into an
 account controlled by SSLI, and that SSLI then decides how those funds will be
 allocated. (Id. at 14-15) Nadeau could not recall if Services ever paid a dividend
 to SSLI. (Id. at 13) Furthermore, although he was an officer of SSLI, Nadeau
 also performed work on behalf of Services. (Id. at 10:12-14)


       The former executive director of Brighton Gardens, Nelson Duran,
 testified at his deposition that he had never heard of Services, even though it
 held the license for the facility he oversaw. (Deposition of Nelson Duran, Ex.
 14, Howard Decl. Dkt. No. 167-16, 11:12-14) He also testified that he received
 “training regarding procedures and protocols” to be used at Brighton Gardens
 at SSLI’s office in Virginia. (Id. at 9:16-25, 10: 1-15) According to Duran,
 Brighton Gardens’ entire policy manual was prepared by SSLI. (Id. at 49:4-16).

 6      Nadeau was called to testify on behalf of SSLI on May 14, 2008 in the case of
 Adams v. Villa Valencia Health Care Center and Sunrise Senior Living, Inc., et al., in the
 California Superior Court of Orange County (Case No. 05CC13 199).
        This transcript may constitute admissible hearsay in its own right. It is a
 statement “made by a person whom the party authorized to make a statement on the
 subject,” and also, because it is a statement “made by the party’s agent or employee
 on a matter within the scope of that relationship and while it existed.” FED. R. EVID.
 801(d)(2)(C)-(D). SSLI’s Form 8-K, dated May 29, 2009, confirms that Nadeau was CFO
 of SSLI when he gave the testimony quoted in the text. (See Ex. 12, Howard Deci., Dkt.
 No. 167-14). At the very least, this transcript may be considered, like an affidavit, as a
 sworn statement of a person who could presumably be called as a witness.

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  That point was reinforced by Thomas Kessler, SSLI’s Area Manager of
  Operations in New Jersey. Kessler testified that SSLI set the policies to be used
  at the facilities operated by its subsidiaries and then took steps to ensure
  compliance with those policies. (Deposition of Thomas Kessler, Ex. 13, Howard
  Deci., Dkt. No. 167-15, 20:7-25, 22:18-23:2, 35:13-17, 45: 16-47:13)


        The defendants protest that SSLI and Services have not “abused” the
  corporate form. However, they offer scant evidence to contradict the testimony
  marshalled by Mr. Watson. There is the declaration of Susan Timoner, the Vice
  President of Services, which states that although SSLI “has overarching goals
 for its subsidiaries (as would any parent company),” it has “no involvement in
 the day-to-day operations or management” of Services. (Declaration of Susan
 Timoner, Ex. J., Jabbour Cert., Dkt. No. 158-13, ¶j20, 30) Timoner’s
 declaration also states that SSLI and Services each have their own officers and
 boards of directors, and that Services “maintains bank accounts in its name
 and issues W-2s to its thousands of employees.” (Id. at JJ1 1, 13)

        In support, the defendants submit copies of W-2s issued by Services as
 well as what are described as Services’ financial records and bank statements.
 I find problems with each piece of evidence. The W-2s do list Services as the
 employer, but the address listed is that of SSLI. (Ex. N, Jabbour Cert., Dkt. No.
  158-17) The alleged financial statements are two Independent Auditors Reports
 for the period between 2005 and 2008. (Ex. L, Jabbour Cert., Dkt. No. 158-15)
 Inexplicably, both reports consist of balance sheets that are completely devoid
 of financial figures. There are, for example, no dollar amounts listed for “Total
 assets” or “Total liabilities”; indeed, there are no dollar amounts listed in any
 rows or columns. (Id.) The alleged statement from Services’ bank account is
 similarly perplexing. (Ex. M., Jabbour Cert., Dkt. No. 158-16) It is completely
 redacted, and contains no information of any kind.




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        I do not suggest that defendants’ evidence could not be believed or
  credited. But in light of the evidence presented, I find that Mr. Watson has
  raised material factual questions of fact regarding both prongs of the veil-
  piercing test.

        As to the first prong, a reasonable jury could find that Services was
  merely a conduit for SSLI: for example, Services allegedly failed to hold board
  meetings or pay dividends, Services allegedly does not keep independent
 financial records, SSLI allegedly diverted all of Services’ revenue into its own
 bank account, and SSLI allegedly trained and supervised Services’ staff. See
 Foodtown, Inc., 296 F.3d at 272.

        As to the second prong, “abuse” of the corporate form, the evidence is
 likewise sufficient to raise a factual issue. The United States Court of Appeals
 for the Third Circuit has stated “the hallmarks of   ...   abuse are typically the
 engagement of the subsidiary in no independent business of its own but
 exclusively the performance of a service for the parent, and even more
 importantly, the undercapitalization of the subsidiary rendering it judgment
 proof.” Pharmacia Corp., 309 F. App’x at 673 (quoting OTRAssocs. V. IBC
 Serts., Inc., 353 N.J. Super. 48 (App. Div. 2002)). Testimony cited by Mr.
 Watson suggests that Services was merely a shell that licensed and operated
 assisted living facilities for the benefit of SSLI. There is also evidence that
 Services remits all of its revenue to SSLI, has no substantial assets, and
 therefore is judgment-proof. That evidence is sufficient to permit a reasonable
 jury to conclude that SSLI abused the privilege of incorporation by using
 Services “to perpetrate a fraud or injustice, or otherwise to circumvent the law.”
 Pharmacia Corp., 309 F. App’x at 672.


        Accordingly, the defendants’ motion for summary judgment on Count 6
 is denied. The issue of piercing the corporate veil is one for the finder of fact.




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 V.    CONCLUSION


       For the reasons set forth above, the defendants’ motion for summary
 judgment is GRANTED IN PART and DENIED IN PART.


       An appropriate order will issue.




 Date: July 17, 2015
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